                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION - FLINT

IN THE MATTER OF:

KING PAR, LLC a/k/a KC                                     Chapter 7
ACQUISITION COMPANY, LLC,                                  Case No. 16-31984-DOF
                                                           Hon. Daniel S. Opperman
       Debtor.
                                      /


                      ORDER CONCERNING CLAIM NUMBER 42
                        FILED BY JPMORGAN CHASE BANK

       This matter came before the Court upon the Stipulation for Entry of Order Concerning

Claim Number 42 Filed by JPMorgan Chase Bank (Docket #____.) JPMorgan Chase Bank,

N.A.’s proof of claim 42, which asserts a general unsecured claim in the amount of $75,860.00,

was filed on April 25, 2019, after the March 22, 2017 claims bar date. However, JPMorgan

Chase Bank, N.A.’s underlying general unsecured claim against the bankruptcy estate was

previously allowed by a prior February 27, 2017 Order (Docket #83). The parties agree the

proof of claim is allowed and entitled to share in prior and future distributions to general

unsecured creditors pro-rata under 11 U.S.C. § 726(a)(2)(A). The parties agreed to entry of this

as evidenced by the Stipulation of the parties. The Court being otherwise fully advised in the

premises:

       IT IS HEREBY ORDERED that proof of claim number 42 filed by JPMorgan Chase

Bank is allowed as a general unsecured claim in the amount of $75,860.00.

       IT IS FURTHER ORDERED that the Trustee shall make an equalizing interim

distribution of thirty-five (35%) percent on claim number 42 in the amount of $26,551.00.




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